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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


LISA SCANDORA,                                      )
            Plaintiff                                )
                                                     ) 05 C 1206
Vs.                                                  )
                                                     ) Honorable Virginia Kendall
VILLAGE OF MELROSE PARK,                             ) Presiding
And VITO SCAVO                                      )
            Defendants                              )
                                                     )


                PLAINTIFFS RESPONSE TO DEFENDANTS MOTION TO
                               AMEND ANSWERS




Plaintiff Lisa Scandora, by and through her attorney SUSAN P.MALONE, in response to

the motion of defendants VILLAGE OF MELROSE PARK and VITO SCAVO, to

amend their answers to add an “affirmative defense” states as follows



      1. Defendants motion seeks to add as an “affirmative defense” a contention that

         punitive damage claims cannot be submitted to the jury but are to be tried to the

         Court.

      2. Rule 8[c] of the Federal Rules of Civil Procedure lists various matters that are

         matters of avoidance or affirmative defenses, i.e. those things that assert that even

         if the allegations in the complaint are proven true there is an affirmative or

         additional reason why plaintiff cannot recover. Fed.R.Civ.Pro.8[c]

      3. The question of whether a particular claim is tried to the court or to a jury is not a



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     matter in avoidance, i.e. it does not defeat the claim but merely addresses who is

     to decide the claim. Thus, defendant’s motion is in error because the proposed

     pleading does not assert an affirmative defense. Bobbit vs. Victorian House, 532

     F.Supp. 734 (N.D.Ill 1982)

  4. Defendants are also substantively wrong. The factual question of whether

     punitive damages are appropriate and if so, in what amount, is submitted to the

     jury in Title VII/Section 1983 actions. See Seventh Circuit Civil Pattern Jury

     Instructions, Instruction 7.34, pg 169-170, attached. Acevedo-Garcia vs.

     Monroig, 351 F.3d 547 (1st Cir. 2003); Youren vs.Tintic School District, 343 F.3d

     1296 (10th Cir.2003)

  5. Defendants may be attempting to assert some other defense unrecognizable in the

     current proposed pleading. If so, defendants have not met the proper pleading

     standard for an affirmative defense.

  Wherefore Plaintiff Lisa Scandora respectfully requests this Honorable Court deny

  the motion of defendant to add the claimed affirmative defense

                            _s/Susan P. Malone

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                            Susan P. Malone


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